                Case 23-11069-CTG           Doc 1340        Filed 12/12/23        Page 1 of 31




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )   Chapter 11
                                                     )
 YELLOW CORPORATION, et al.,1                        )   Case No. 23-11069 (CTG)
                                                     )
                                Debtors.             )   (Jointly Administered)
                                                     )
                                                     )   Re: Docket Nos. 1308, 1336

  SECOND AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON
DECEMBER 12, 2013 AT 10:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE
 HONORABLE CRAIG T. GOLDBLATT AT THE UNITED STATES BANKRUPTCY
COURT FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET
 STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801


 This hearing will be conducted in-person. All parties, including witnesses, are expected to
   attend in person unless permitted to appear via Zoom. Participation at the in-person
  court proceeding using Zoom is allowed only in the following circumstances: (i) counsel
 for a party or a pro se litigant that files a responsive pleading and intends to make only a
   limited argument; (ii) a party or a representative of a party that has not submitted a
 pleading but is interested in observing the hearing; (iii) any party that is proceeding, in a
     claims allowance dispute, on a pro se basis; or (iv) extenuating circumstances that
  warrant remote participation as may be determined by the Court. All participants over
 Zoom must register in advance. Please register by December 8, 2023, at 4:00 p.m. (EST).

                                             Registration Link:

 https://debuscourts.zoomgov.com/meeting/register/vJItd-6hrzguGrreQiqUt50CsTEnC1kMcRI




RESOLVED MATTER:

1.        Debtors’ Application Pursuant to Sections 327(e), 328(a), and 339 of the Bankruptcy
          Code for Entry of an Order Authorizing the Retention and Employment of Kasowitz


1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
  claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
  of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
  Overland Park, Kansas 66211.
2 Amended items are in bold.




DE:4878-9320-6677.5 96859.001
                Case 23-11069-CTG          Doc 1340     Filed 12/12/23     Page 2 of 31




         Benson Torres LLP, as Special Litigation Counsel to the Debtors Effective as of the
         Petition Date [Filed: 9/7/23] (Docket No. 418)

         Response Deadline: September 21, 2023 at 4:00 p.m. (ET)

         Responses Received: None as of the date of this Notice of Agenda.

         Related Documents:

         A.        [Proposed] Order Pursuant to Sections 327(e), 328(a), and 339 of the Bankruptcy
                   Code for Entry of an Order Authorizing the Retention and Employment of
                   Kasowitz Benson Torres LLP, as Special Litigation Counsel to the Debtors
                   Effective as of the Petition Date [Filed: 9/7/23] (Docket No. 418, Exhibit A)

         B.        Supplemental Declaration in Support of Marc E. Kasowitz of Debtors'
                   Application Pursuant to Sections 327(e), 328(a), and 330 of the Bankruptcy Code
                   for Entry of an Order Authorizing the Retention and Employment of Kasowitz
                   Benson Torres LLP, as Special Litigation Counsel to the Debtors Effective as to
                   the Petition Date [Docket No. 11/30/23] (Docket No. 1249)

         C.        Declaration in Support of Matthew A. Doheny of Debtors' Application Pursuant
                   to Sections 327(e), 328(a), and 330 of the Bankruptcy Code for Entry of an Order
                   Authorizing the Retention and Employment of Kasowitz Benson Torres LLP as
                   Special Litigation Counsel to the Debtors Effective as of the Petition Date
                   [Docket No. 11/30/23] (Docket No. 1250)

         D.        Certification of Counsel Regarding Debtors’ Application Pursuant to Sections
                   327(e), 328(a), and 339 of the Bankruptcy Code for Entry of an Order
                   Authorizing the Retention and Employment of Kasowitz Benson Torres LLP, as
                   Special Litigation Counsel to the Debtors Effective as of the Petition Date [Filed:
                   12/1/23] (Docket No. 1255)

         E.        [Signed] Order Pursuant to Sections 327(e), 328(a), and 339 of the Bankruptcy
                   Code for Entry of an Order Authorizing the Retention and Employment of
                   Kasowitz Benson Torres LLP, as Special Litigation Counsel to the Debtors
                   Effective as of the Petition Date [Filed: 12/1/23] (Docket No. 1257)

         Status: The Court has entered an order on this matter. No hearing is necessary.

CONTINUED MATTERS:

2.       Motion of Brett Groves for Relief From the Automatic Stay to the Extent of Liability
         Insurance Proceeds [Filed: 8/24/23] (Docket No. 334)

         Response Deadline: September 7, 2023, at 4:00 p.m. ET (extended until October 9, 2023
         at 4:00 p.m. ET)




DE:4878-9320-6677.5 96859.001                       2
                Case 23-11069-CTG         Doc 1340     Filed 12/12/23     Page 3 of 31




         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief from the Automatic Stay to the
                   Extent of Liability Insurance Proceeds [Filed: 8/24/23] (Docket No. 334, Exhibit
                   B)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Brett Groves to (I) Extend the Deadline to Respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/8/23]
                   (Docket No. 427)

         C.        Notice of Extension of Time to Respond to Motion to Lift the Automatic Stay
                   [Filed: 10/5/23] (Docket No. 777)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

3.       Motion of Myriam Binette for Relief From the Automatic Stay [Filed: 8/28/23] (Docket
         No. 344)

         Response Deadline: September 7, 2023, at 4:00 p.m. ET (extended until October 9, 2023
         at 4:00 p.m. ET)

         Responses Received:

         A.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)




DE:4878-9320-6677.5 96859.001                      3
                Case 23-11069-CTG         Doc 1340     Filed 12/12/23    Page 4 of 31




         B.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         C.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        Notice of Motion of Myriam Binette for Relief from Stay Under Section 362 of
                   the Bankruptcy Code [File: 8/30/23] (Docket No. 364)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Myriam Binette to (I) Extend the Deadline to Respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/8/23]
                   (Docket No. 429)

         C.        Notice of Extension of Time to Respond to Motion to Lift the Automatic Stay
                   [Filed: 10/5/23] (Docket No. 776)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

4.       Motion of Paul Clark and Jean Clark for Relief From the Automatic Stay to the Extent of
         Liability Insurance Proceeds [Filed: 8/29/23] (Docket No. 358)

         Response Deadline: September 12, 2023, at 4:00 p.m. ET (extended until October 12,
         2023 at 4:00 p.m. ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

DE:4878-9320-6677.5 96859.001                      4
                Case 23-11069-CTG         Doc 1340     Filed 12/12/23    Page 5 of 31




         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                   Extent of Liability Insurance Proceeds [Filed: 8/29/23] (Docket No 358, Exhibit
                   B)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Paul Clark and Jean Clark to (I) Extend the Deadline to Respond to Motion to Lift
                   the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                   9/8/23] (Docket No. 428)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

5.       Motion for Relief From Stay [Filed by Dariun Wright] [Filed: 9/8/23] (Docket No. 423)

         Response Deadline: October 16, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents: None.

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

6.       Motion of James Charles Howard for Relief From the Automatic Stay to the Extent of
         Liability Insurance Proceeds [Filed: 9/14/23] (Docket No. 553)

         Response Deadline: September 28, 2023 at 4:00 p.m. (ET)




DE:4878-9320-6677.5 96859.001                      5
                Case 23-11069-CTG         Doc 1340     Filed 12/12/23     Page 6 of 31




         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                   Extent of Liability Insurance Proceeds [Filed: 9/14/23] (Docket No. 553, Exhibit
                   B)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   James Charles Howard to (I) Extend the Deadline to Respond to Motion to Lift
                   the Automatic Stay and (II) Extend the Hearing ate Related Thereto [Filed:
                   9/28/23] (Docket No. 689)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

7.       Motion of Gary W. Gibby for Relief from the Automatic Stay [Filed: 9/19/23] (Docket
         No. 608)

         Response Deadline: October 3, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
         at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)



DE:4878-9320-6677.5 96859.001                      6
                Case 23-11069-CTG         Doc 1340     Filed 12/12/23    Page 7 of 31




         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Replies Received:

         A.        Reply in Further Support of Motion of Gary W. Gibby for Relief From the
                   Automatic Stay [Filed: 11/8/23] (Docket No. 1058)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Gary W. Gibby for Relief from the
                   Automatic Stay [Filed: 9/19/23] (Docket No 608, Exhibit A)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Gary W. Gibby to (I) Extend the Deadline to respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 10/3/23]
                   (Docket No. 747)

         C.        Certification of Counsel Regarding the Joint Stipulation By and Among the
                   Debtors and Gary W. Gibby to (I) Extend the Deadline to respond to Motion to
                   Lift the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                   10/3/23] (Docket No. 875)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

8.       Motion of Amer Nasser and Meira Ulloque for Relief From the Automatic Stay [Filed:
         9/20/23] (Docket No. 615)

         Response Deadline: October 4, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
         at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)




DE:4878-9320-6677.5 96859.001                      7
                Case 23-11069-CTG        Doc 1340      Filed 12/12/23   Page 8 of 31




         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Amer Nasser and Meira Ulloque to (I) Extend the Deadline to Respond to Motion
                   to Lift the Automatic Stay and (II) Extend the Hearing Date Related Thereto
                   [Filed: 9/28/23] (Docket No. 688)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

9.       Motion of Paul R. Wyszynski for Relief from the Automatic Stay Pursuant to Section
         362(d) of the Bankruptcy Code [Filed: 9/21/23] (Docket No. 630)

         Response Deadline: October 5, 2023 at 4:00 p.m. (ET) (extended until October 12, 2023
         at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)




DE:4878-9320-6677.5 96859.001                      8
                Case 23-11069-CTG        Doc 1340      Filed 12/12/23    Page 9 of 31




         Related Documents:

         A.        [Proposed] Motion of Paul R. Wyszynski for Relief from the Automatic Stay
                   Pursuant to Section 362(d) of the Bankruptcy Code [Filed: 9/21/23] (Docket No.
                   630)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Paul R. Wyszynski to (I) Extend the Deadline to Respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/28/23]
                   (Docket No. 687)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

10.      Emily Louro’s Motion for Relief From Automatic Stay [Filed: 9/25/23] (Docket No. 650)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Replies Received:

         A.        Emily Louro’s Reply in Support of Her Motion for Relief From the Automatic
                   Stay [Filed: 10/18/23] (Docket No. 866)

         Related Documents:

         A.        [Proposed] Order of Emily Louro’s Motion for Relief From Automatic Stay
                   [Filed: 9/25/23] (Docket No. 650)

         B.        Notice of Emily Louro’s Motion for Relief From Automatic Stay [Filed:
                   10/26/23] (Docket No. 961)


DE:4878-9320-6677.5 96859.001                      9
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 10 of 31




         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

11.      Motion of Corporate Lodging Consultants Inc. and Comdata, Inc., Pursuant to
         Bankruptcy Code Section 362(d), Bankruptcy Rule 4001, and Local Rule 4001-1, for
         Relief From the Automatic Stay to Effectuate Setoff of Security Deposit [Filed: 9/26/23]
         (Docket No. 663)

         Response Deadline: October 10, 2023 at 4:00 p.m. (ET)

         Responses Received: None.

         Related Documents:

         A.        [Proposed] Order Granting Motion of Corporate Lodging Consultants Inc. and
                   Comdata, Inc., Pursuant to Bankruptcy Code Section 362(d), Bankruptcy Rule
                   4001, and Local Rule 4001-1, for Relief From the Automatic Stay to Effectuate
                   Setoff of Security Deposit [Filed: 9/26/23] (Docket No. 663)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

12.      Motion for Relief From the Automatic Stay Filed by Tena J. Spence [Filed: 9/28/23]
         (Docket No. 684)

         Response Deadline: October 12, 2023 at 5:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay Filed by
                   Tena J. Spence [Filed: 9/28/23] (Docket No. 684, Exhibit C)


DE:4878-9320-6677.5 96859.001                     10
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 11 of 31




         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

13.      Motion of Jimmie and Janel Hubert for Relief from the Automatic Stay Pursuant to 11
         U.S.C. § 362 [Filed: 10/4/23] (Docket No. 758)

         Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Jimmie and Janel Hubert for Relief from
                   the Automatic Stay Pursuant to 11 U.S.C. § 362 [Filed: 10/4/23] (Docket No.
                   758)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

14.      Motion of Donna Lee Daugherty for Order Pursuant to Section 362(d) of the Bankruptcy
         Code, Bankruptcy Rule 4001 and Local Bankruptcy Rule 4001-1 Modifying the
         Automatic Stay to Allow Continuation of the Wrongful Death Litigation [Filed: 10/5/23]
         (Docket No. 770)

         Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)




DE:4878-9320-6677.5 96859.001                     11
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 12 of 31




         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Donna Lee Daugherty for Order Pursuant to
                   Section 362(d) of the Bankruptcy Code, Bankruptcy Rule 4001 and Local
                   Bankruptcy Rule 4001-1 Modifying the Automatic Stay to Allow Continuation of
                   the Wrongful Death Litigation [Filed: 10/5/23] (Docket No. 770, Exhibit A)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

15.      Motion of Susan Degenkolb for Relief from the Automatic Stay Pursuant to Section
         362(d) of the Bankruptcy Code [Filed: 10/6/23] (Docket No. 783)

         Response Deadline: October 20, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)




DE:4878-9320-6677.5 96859.001                     12
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 13 of 31




         Related Documents:

         A.        [Proposed] Order Granting Motion of Susan Degenkolb for Relief from the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   10/6/23] (Docket No. 783)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

16.      Motion of Anthony Martino for Orders Granting Relief From the Automatic Stay [Filed:
         10/7/23] (Docket No. 789)

         Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Anthony Martino For Orders Granting
                   Relief From the Automatic Stay [Filed: 10/7/23] (Docket No. 789, Exhibit A)

         B.        [Proposed] Order Partially Granting Motion of Anthony Martino and Granting
                   Limited Interim Relief From the Automatic Stay [Filed: 10/7/23] (Docket No.
                   789, Exhibit B)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

17.      Motion for Relief of the Automatic Stay filed by Kavir Moonilal-Singh [Filed: 10/11/23]
         (Docket No. 812)

         Response Deadline: November 1, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))


DE:4878-9320-6677.5 96859.001                     13
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 14 of 31




         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Ihab Sulaiman Relief from the Automatic Stay [Filed:
                   10/11/23] (Docket No. 812)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

18.      Motion of William Littral for Relief from the Automatic Stay Pursuant to Section 362(d)
         of the Bankruptcy Code [Filed: 10/13/23] (Docket No. 844)

         Response Deadline: October 27, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of William Littral for Relief from the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   10/13/23] (Docket No. 844)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

19.      Jose Emilio Ronderos’ Motion for Relief From the Automatic Stay [Filed: 10/19/23]
         (Docket No. 877)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET) for the Debtors)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief From the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 11/9/23] (Docket No. 1106)


DE:4878-9320-6677.5 96859.001                     14
               Case 23-11069-CTG        Doc 1340      Filed 12/12/23   Page 15 of 31




         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Jose Emilio Ronderos’ Motion for Relief From the
                   Automatic Stay [Filed: 10/19/23] (Docket No. 877)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

20.      Jacob Bazarov and Tamara Peirova’s Motion for Relief From the Automatic Stay [Filed:
         10/19/23] (Docket No. 878)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET) for the Debtors)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief From the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 11/9/23] (Docket No. 1106)

         B.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Jacob Bazarov and Tamara Peirova’s Motion for
                   Relief From the Automatic Stay [Filed: 10/19/23] (Docket No. 878)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

21.      Sopia L. Goodman’s Motion for Relief From the Automatic Stay [Filed: 10/19/23]
         (Docket No. 879)

         Response Deadline: October 28, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET) for the Debtors)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief From the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 11/9/23] (Docket No. 1106)

         B.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

DE:4878-9320-6677.5 96859.001                    15
               Case 23-11069-CTG        Doc 1340       Filed 12/12/23   Page 16 of 31




         Related Documents:

         A.        [Proposed] Order Sopia L. Goodman’s Motion for Relief From the Automatic
                   Stay to Pursue Non-Bankruptcy Litigation [Filed: 10/19/23] (Docket No. 879)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

22.      Motion of Seung Chung for Order Granting Relief From The Automatic Stay [Filed:
         10/27/23] (Docket No. 984)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Seung Chung for Order Granting Relief
                   From The Automatic Stay [Filed: 10/27/23] (Docket No. 984)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

23.      Motion of Shane Snider and Carla Maria Snider for Relief from the Automatic Stay
         Pursuant to Section 362(d) of the Bankruptcy Code [Filed: 10/30/23] (Docket No. 991)

         Response Deadline: November 13, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Shane Snider and Carla Maria Snider for
                   Relief from the Automatic Stay Pursuant to Section 362(d) of the Bankruptcy
                   Code [Filed: 10/30/23] (Docket No. 991)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

24.      Automobile Mechanics’ Local No. 701 Union and Industry Pension Fund and the
         Automobile Mechanics’ Local 701 Union and Industry Welfare Fund’s Routine Motion
         for Rule 2004 Examination of the Debtors [Filed: 10/30/23] (Docket No. 993)


DE:4878-9320-6677.5 96859.001                     16
               Case 23-11069-CTG        Doc 1340       Filed 12/12/23   Page 17 of 31




         Response Deadline: November 6, 2023 at 4:00 p.m. (ET)

         Responses Received: None.

         Related Documents:

         A.        [Proposed] Order Directing Debtors to Produce Documents in Response to Rule
                   2004 Requests [Filed: 10/30/23] (Docket No. 993, Exhibit 1)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

25.      Motion of Edgar Cancino for Relief From the Automatic Stay [Filed: 11/2/23] (Docket
         No. 1022)

         Response Deadline: December 5, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Edgar Cancino for Relief From the
                   Automatic Stay [Filed: 11/2/23] (Docket No. 1022, Exhibit A)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

26.      Motion of Alexis McCully for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
         362 [Filed: 11/3/23] (Docket No. 1035)

         Response Deadline: November 27, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Alexis McCully for Relief from the
                   Automatic Stay Pursuant to 11 U.S.C. § 362 [Filed: 11/3/23] (Docket No. 1035)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

27.      Motion of Jill Napiwocki for Relief From the Automatic Stay to the Extent of Liability
         Insurance [Filed: 11/8/23] (Docket No. 1062)

DE:4878-9320-6677.5 96859.001                     17
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 18 of 31




         Response Deadline: November 22, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Phillip B. Deterding's Motion for Relief from the
                   Automatic Stay [Filed: 11/8/23] (Docket No. 1062, Exhibit A)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

28.      Motion of Derek Hall For Relief From The Automatic Stay to the Extent of Liability
         Insurance [Filed: 11/10/23] (Docket No. 1118)

         Response Deadline: November 27, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                   Extend of Liability Insurance Proceeds [Filed: 11/10/23] (Docket No. 1118)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

29.      Motion for (I) Relief from the Automatic Stay to Terminate Lease and Recover Trailers;
         (II) Adequate Protection; and (III) Allowance and Payment of Administrative Expense
         Claim [Filed: 11/16/23] (Docket No. 1160)

         Response Deadline: December 1, 2023 at 4:00 p.m.

         Responses Received: None.

         Related Documents:

         A.        [Proposed] Order Granting Motion for (I) Relief from the Automatic Stay to
                   Terminate Lease and Recover Trailers; (II) Adequate Protection; and (III)
                   Allowance and Payment of Administrative Expense Claim [Filed: 11/16/23]
                   (Docket No. 1160)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

DE:4878-9320-6677.5 96859.001                     18
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 19 of 31




30.      Motion for Relief From the Automatic Stay [Filed by Paul Edward Fowler] [Filed:
         11/17/23] (Docket No. 1169)

         Response Deadline: December 5, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Paul Edward Fowler’s Motion for Relief From the
                   Automatic Stay to Pursue Non-Bankruptcy Litigation [Filed: 11/17/23] (Docket
                   No. 1169)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

31.      Motion of Delores Jones for Relief from the Automatic Stay Pursuant to Section 362(d)
         of the Bankruptcy Code [Filed: 11/20/23] (Docket No. 1181)

         Response Deadline: December 4, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Delores Jones for Relief from the
                   Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code [Filed:
                   11/20/23] (Docket No. 1181)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

SALE MOTION MATTER:

32.      Motion of the Debtors for Entry of an Order (I)(A) Approving Bidding Procedures for the
         Sale or Sales of the Debtors’ Assets; (B) Scheduling an Auction and Approving the Form
         and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures,
         (D) Scheduling a Sale Hearing and Approving the Form and Manner of Notice Thereof;
         (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,
         Interests and Encumbrances and (B) Approving the Assumption and Assignment of
         Executory Contracts and Unexpired Leases; and (III) Granting Related Relief [Filed:
         8/7/23] (Docket No. 22)


DE:4878-9320-6677.5 96859.001                     19
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 20 of 31




         Sale Objection Deadline: December 8, 2023 at 5:00 p.m. (ET)

         Sale Objections Received:

         A.        Objection of 1313 Grand Street Realty, LLC to (A) the Proposed Sale Order and
                   Assumption and Assignment of Lease; (B) Cure Costs Proposed in Connection
                   with the Assignment of Lease; and (C) Proposed Adequate Assurance of Future
                   Performance [Filed: 12/8/23] (Docket No. 1304)

         B.        Limited Objection of Mid-American Constructors, LLC to the Debtors’ Sale
                   Motion and Order [Filed: 12/8/23] (Docket No. 1323)

         Cure/Assumption and Assignment Objections Deadline: November 9, 2023, at 4:00 p.m.
         (ET)

         Cure/Assumption and Assignment Objections Received:

         A.        Non-Rolling Stock Assets Cure Objection of Freight Line Properties, LLC
                   [Filed:10/30/23] (Docket No. 990)

         B.        Objection of B & W Investments to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated with the
                   Non-Rolling Stock Assets [Filed: 11/2/23] (Docket No. 1025)

         C.        Objection and Reservation of Rights to the Debtors' Notice of Potential
                   Assumption or Assumption and Assignment of Certain Contracts or Leases
                   Associated with the Non-Rolling Stock Assets [Filed: 11/3/23] (Docket No. 1033)

         D.        Objection of Reimer World Properties Corp. and RWP Manitoba Ltd. to Notice of
                   Potential Assumption or Assumption and Assignment of Certain Contracts or
                   Leases Associated with the Non-Rolling Stock Assets [Filed: 11/8/23] (Docket
                   No. 1063)

         E.        Objection of MG Fishersville I, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated With the
                   Non-Rolling Stock Assets [Filed: 11/8/23] (Docket No. 1071)

         F.        Objection of 1313 Grand Street Realty, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated with the
                   Non-Rolling Stock Assets [Filed: 11/8/23] (Docket No. 1072)

         G.        Objection of A. Duie Pyle, Inc. to Notice of Potential Assumption or Assumption
                   and Assignment of Certain Contracts or Leases Associated with the Non-Rolling
                   Stock Assets [Filed: 11/8/23] (Docket No. 1074)

         H.        Objection of Terreno Clawiter LLC and Terreno Dell LLC to Notice of Potential
                   Assumption or Assignment of Certain Contracts and Leases Associated with the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1086)

DE:4878-9320-6677.5 96859.001                     20
               Case 23-11069-CTG              Doc 1340       Filed 12/12/23   Page 21 of 31




                   i.           Exhibit 1 to the Objection of Terreno Clawiter LLC and Terreno Dell LLC
                                to Notice of Potential Assumption or Assignment of Certain Contracts and
                                Leases Associated with the Non-Rolling Stock Assets [Filed: 11/9/23]
                                (Docket No. 1101)

         I.        Crown Enterprises, Inc.'s, Crown Enterprises, LLC's, and Dauntless ULC's
                   (A/K/A Crown Enterprises) Objection to Notice of Potential Assumption and
                   Assignment of Certain Contracts or Leases Associated with the Non-Rolling
                   Stock Assets [Filed: 11/9/23] (Docket No. 1087)

         J.        Objection of Fazio TV, LLC, Mary A. Fazio Limited Partnership I, and Fazio
                   Faloma Properties LLC To Notice of Potential Assumption or Assumption and
                   Assignment of Certain Contracts or Leases Associated With the Non-Rolling
                   Stock Assets [Filed: 11/9/23] (Docket No. 1090)

         K.        Limited Objection of 445 Hollywood Avenue LLC to Notice of Potential
                   Assumption or Assumption and Assignment of Certain Contracts or Leases
                   Associated with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1091)

         L.        Objection of Kestrel Crossdock, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated With the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1092)

         M.        Hawkey Transportation, Inc's Objection to Proposed Cure Amounts in Notice of
                   Potential Assumption or Assumption and Assignment of Certain Contracts or
                   Leases Associated with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket
                   No. 1094)

                   i.           Declaration of Mike Hawkey in Support of Hawkey Transportation, Inc's
                                Objection to Proposed Cure Amounts in Notice of Potential Assumption
                                or Assumption and Assignment of Certain Contracts or Leases Associated
                                with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1097)

                   ii.          Declaration of Garrett S. Eggen in Support of Hawkey Transportation,
                                Inc's Objection to Proposed Cure Amounts in Notice of Potential
                                Assumption or Assumption and Assignment of Certain Contracts or
                                Leases Associated with the Non-Rolling Stock Assets [Filed: 11/9/23]
                                (Docket No. 1098)

         N.        Limited Objection of 181 W. Johnson Holding LLC and 181 W. Johnson Holding
                   II LLC to Debtors' Notice of Potential Assumption or Assumption and
                   Assignment of Certain Contracts or Leases Associated with the Non-Rolling
                   Stock Assets [Filed: 11/9/23] (Docket No. 1095)

         O.        Objection of Link Logistics Real Estate Management LLC, BREIT Industrial
                   Canyon GA1B01 LLC, GPT Elkridge Terminal Owner LLC, GPT Deer Park
                   Terminal Owner LLC, and GPT Orlando Terminal Owner LLC, to Debtors'
                   Notice of Potential Assumption or Assumption and Assignment of Certain

DE:4878-9320-6677.5 96859.001                           21
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 22 of 31




                   Contracts or Leases Associated with the Non-Rolling Stock Assets [Filed:
                   11/9/23] (Docket No. 1096)

         P.        Limited Objections of USHOLL (MI) LLC to Debtors' Notice of Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated with the
                   Non-Rolling Stock Assets Regarding Proposed Cure Amount and Adequate
                   Assurance of Future Performance [Filed: 11/9/23] (Docket No. 1099)

         Q.        Objection and Reservation of Rights to Debtors' Notice of Potential Assumption
                   or Assumption and Assignment of Certain Contracts or Leases Associated with
                   the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1100)

         R.        Objection of MAD Acquisitions, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated With the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1103)

         S.        Response and Reservation of Rights of Exol Properties, L.L.C. and Orange
                   Batavia I LLC to Debtors Notice of Potential Assumption or Assumption and
                   Assignment of Certain Contracts or Leases Associated with the Non-Rolling
                   Stock Assets [Filed: 11/9/23] (Docket No. 1104)

         T.        Objection and Reservation of Rights of Fifty Second Avenue Associates, Inc. to
                   the Notice of Notice of Potential Assumption or Assumption and Assignment of
                   Certain Contracts or Leases Associated with the Non-Rolling Stock Assets [Filed:
                   11/9/23] (Docket No. 1105)

         U.        Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 11/9/23] (Docket No. 1106)

         V.        Objection of Exeter 1619 N. Plaza, LLC to Notice of Potential Assumption or
                   Assumption and Assignment of Certain Contracts or Leases Associated With the
                   Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1107)

         W.        Aloha Dwell Wise, LLC, Dwell Wise LP, and Dwell Best, LLC’s Limited
                   Objection to Notice of Potential Assumption or Assumption and Assignment of
                   Certain Contracts or Leases Associated With the Non-Rolling Stock Assets
                   [Filed: 11/9/23] (Docket No. 1108)

         X.        Objection and Reservation of Rights of Edinburgh Logistics Assets LLC [Filed:
                   11/9/23] (Docket No. 1109)

         Y.        Objection and Reservation of Rights of Finlayson Logistics Assets LLC [Filed:
                   11/9/23] (Docket No. 1110)

         Z.        Objection and Reservation of Rights of M4 Terminals, LLC to the Debtors'
                   Notice of Potential Assumption or Assumption and Assignment of Certain


DE:4878-9320-6677.5 96859.001                     22
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 23 of 31




                   Contracts or Leases Associated With the Non-Rolling Stock Assets [Filed:
                   11/9/23] (Docket No. 1112)

         AA.       Objection of Southeastern Freight Lines to the Debtors' Notice of Potential
                   Assumption or Assumption and Assignment of Certain Contracts or Leases
                   Associated with the Non-Rolling Stock Assets [Filed: 11/9/23] (Docket No. 1113)

         BB.       Objection and Reservation of Rights of Prologis USLV SubREIT 2, LLC,
                   Prologis Targeted U.S. Logistics Fund, L.P., Prologis, L.P., DCT Peoria Street
                   LLC, DCT Eck Hoff Street LLC, and Prologis USLV SubREIT 4, LLC to the
                   Debtors' Notice of Potential Assumption or Assumption and Assignment of
                   Certain Contracts or Leases Associated with the Non-Rolling Stock Assets [Filed:
                   11/9/23] (Docket No. 1114)

         CC.       Objection and Reservation of Rights to the Debtors Notice of Potential
                   Assumption or Assumption and Assignment of Certain Contracts or Leases
                   Associated with the Non-Rolling Stock Assets [Filed: 11/16/23] (Docket No.
                   1161)

         DD.       Objection of 1313 Grand Street Realty, LLC to (A) the Proposed Sale Order and
                   Assumption and Assignment of Lease; (B) Cure Costs Proposed in Connection
                   with the Assignment of Lease; and (C) Proposed Adequate Assurance of Future
                   Performance [Filed: 12/8/23] (Docket No. 1304)

         Replies Received:

         A.        Reply in Further Support of Entry of the Debtors’ Proposed Order (I) Approving
                   Certain Asset Purchase Agreements; (II) Authorizing and Approving Sales of
                   Certain Real Property Assets of the Debtors Free and Clear of Liens, Claims,
                   Interests, and Encumbrances, in Each Case Pursuant to the Applicable Asset
                   Purchase Agreement; (III) Approving the Assumption and Assignment of Certain
                   Executory Contracts and Unexpired Leases in Connection Therewith, in Each
                   Case as Applicable Pursuant to the Applicable Asset Purchase Agreement; and
                   (IV) Granting Related Relief [Filed: 12/11/23] (Docket No. 1332 – Exhibit B)

         Related Documents:

         A.        [Signed] Order (I)(A) Approving the Bidding Procedures For the Sale or Sales of
                   the Debtors’ Assets, (B) Scheduling Auctions and Approving the Form and
                   Manner of Notice Thereof; (C) Scheduling Sale Hearings and Approving the
                   Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’
                   Assets Free and Clear of Liens, Claims, Interests and Encumbrances and (B)
                   Approving the Assumption and Assignment of Executory Contracts and
                   Unexpired Leases; and (III) Granting Related Relief [Filed: 9/15/23] (Docket No.
                   575)

         B.        Notice of Finalized Bidding Procedures [Filed: 9/18/23] (Docket No. 601)


DE:4878-9320-6677.5 96859.001                     23
               Case 23-11069-CTG         Doc 1340       Filed 12/12/23   Page 24 of 31




         C.        Notice of Auctions for the Sale of the Debtors’ Assets [Filed: 9/20/23] (Docket
                   No. 621)

         D.        Notice of Potential Assumption or Assumption and Assignment of Certain
                   Contracts or Leases Associated With the Rolling Stock [Filed: 10/11/23] (Docket
                   No. 819]

         E.        Amended Notice of Potential Assumption or Assumption and Assignment of
                   Certain Contracts or Leases Associated With the Rolling Stock [Filed: 10/12/23]
                   (Docket No. 824)

         F.        Notice of Rescheduled Bid Deadline, Auction, and Hearing to Approve the
                   Rolling Stock Winning Bidder [Filed: 10/13/23] (Docket No. 834)

         G.        Notice of Cancellation of Rolling Stock Bid Deadline and Rolling Stock Auction
                   [Filed: 10/16/23] (Docket No. 857)

         H.        Notice of Potential Assumption or Assumption and Assignment of Certain
                   Contracts or Leases Associated With the Non-Rolling Stock Assets [Filed:
                   10/26/23] (Docket No. 968)

         I.        Notice of Auction Progress Relating to Real Property Assets, Including Debtors'
                   Intention to File Notice of Winning Bidders Relating to Certain Real Property
                   Assets By December 5, 2023 [Filed: 12/1/23] (Docket No. 1261)

         J.        Notice of Rescheduled Sale Objection Deadline, Adequate Assurance Objection
                   Deadline, and Sale Hearing for Certain of the Debtors' Real Property Assets
                   [Filed: 12/4/23] (Docket No. 1267)

         K.        Notice of Winning Bidders and, If Applicable, Back-up Bidders With Respect to
                   Certain of the Debtors' Real Property Assets [Filed: 12/4/23] (Docket No. 1268)

         L.        Notice of Adjournment of Real Estate Auction for Certain Remaining Leased
                   Properties to December 18, 2023 at 9:00 a.m. (ET) [Filed: 12/6/23] (Docket No.
                   1284)

         M.        Notice of Filing of Proposed Order (I) Approving Certain Asset Purchase
                   Agreements; (II) Authorizing and Approving Sales of Certain Real Property
                   Assets of the Debtors Free and Clear of Liens, Claims, Interests, and
                   Encumbrances, in Each Case Pursuant to the Applicable Asset Purchase
                   Agreement; (III) Approving the Assumption and Assignment of Certain
                   Executory Contracts and Unexpired Leases in Connection Therewith, in Each
                   Case as Applicable Pursuant to the Applicable Asset Purchase Agreement; and
                   (IV) Granting Related Relief [Filed: 12/6/23] (Docket No. 1285)

         N.        Notice of Filing of Asset Purchase Agreement Dated as of December 4, 2023
                   Between the Debtors and XPO, Inc. [Filed: 12/6/23] (Docket No. 1286)


DE:4878-9320-6677.5 96859.001                      24
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 25 of 31




         O.        Notice of Filing of Asset Purchase Agreement Dated as of December 5, 2023
                   Between the Debtors and A. Duie Pyle, Inc. [Filed: 12/6/23] (Docket No. 1287)

         P.        Notice of Filing of Asset Purchase Agreement Dated as of December 5, 2023
                   Between the Debtors and Saia Motor Freight Line, LLC [Filed: 12/6/23] (Docket
                   No. 1288)

         Q.        Notice of Filing of Asset Purchase Agreement Dated as of December 5, 2023
                   Between the Debtors and Terminal Properties, LLC [Filed: 12/6/23] (Docket No.
                   1289)

         R.        Notice of Filing of Asset Purchase Agreement Dated as of December 5, 2023
                   Between the Debtors and Terminal Properties of NY, LLC [Filed: 12/6/23]
                   (Docket No. 1290)

         S.        Notice of Filing of Asset Purchase Agreement Dated as of December 7, 2023
                   Between the Debtors and JIOS Fund I Acquisitions, LLC [Filed: 12/7/23] (Docket
                   No. 1295)

         T.        Notice of Filing of Asset Purchase Agreement Dated as of December 7, 2023
                   Between the Debtors and ArcBest Property Management, LLC [Filed: 12/7/23]
                   (Docket No. 1296)

         U.        Notice of Filing of Asset Purchase Agreement Dated as of December 7, 2023
                   Between the Debtors and TForce Properties, Inc. [Filed: 12/7/23] (Docket No.
                   1297)

         V.        Notice of Modified Schedule to the XPO Asset Purchase Agreement [Filed:
                   12/7/23] (Docket No. 1298)

         W.        Notice of Filing of Asset Purchase Agreement Dated as of December 7, 2023
                   Between the Debtors and Knight Swift Transportation Holdings Inc. [Filed:
                   12/7/23] (Docket No. 1299)

         X.        Notice of Filing of Asset Purchase Agreement Dated as of December 7, 2023
                   Between the Debtors and MDHE Enterprises LLC [Filed: 12/7/23] (Docket No.
                   1300)

         Y.        Notice of Filing of Asset Purchase Agreement Dated as of December 7, 2023
                   Between the Debtors and Z Brothers Trucking, LLC [Filed: 12/7/23] (Docket No.
                   1301)

         Z.        Declaration of Cody Leung Kaldenberg in Support of Entry of Order (I)
                   Approving Certain Asset Purchase Agreements; (II) Authorizing and Approving
                   Sales of Certain Real Property Assets of the Debtors Free and Clear of Liens,
                   Claims, Interests, and Encumbrances, in Each Case Pursuant to the Applicable
                   Asset Purchase Agreement; (III) Approving the Assumption and Assignment of
                   Certain Executory Contracts and Unexpired Leases in Connection Therewith, in

DE:4878-9320-6677.5 96859.001                     25
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 26 of 31




                   Each Case as Applicable Pursuant to the Applicable Asset Purchase Agreement;
                   and (IV) Granting Related Relief [Filed: 12/8/23] (Docket No. 1303)

         AA.       Declaration of Brian Whittman in Support of Entry of Order (I) Approving
                   Certain Asset Purchase Agreements; (II) Authorizing and Approving Sales of
                   Certain Real Property Assets of the Debtors Free and Clear of Liens, Claims,
                   Interests, and Encumbrances, in Each Case Pursuant to the Applicable Asset
                   Purchase Agreement; (III) Approving the Assumption and Assignment of Certain
                   Executory Contracts and Unexpired Leases in Connection Therewith, in Each
                   Case as Applicable Pursuant to the Applicable Asset Purchase Agreement; and
                   (IV) Granting Related Relief [Filed: 12/8/23] (Docket No. 1305)

         BB.       Debtors’ Witness and Exhibit List for Hearing on December 12, 2023 at 10:00
                   a.m. (ET) [Filed: 12/8/23] (Docket No. 1306)

         CC.       Notice of Filing of Form of Asset Purchase Agreement between the Debtors and
                   All Star Investments Inc. [Filed: 12/8/23] (Docket No. 1311)

         DD.       Notice of Filing of Form of Asset Purchase Agreement between the Debtors and
                   Crown Enterprises, LLC [Filed: 12/8/23] (Docket No. 1312)

         EE.       Notice of Filing of Form of Asset Purchase Agreement between the Debtors and
                   Estes Express Lines [Filed: 12/8/23] (Docket No. 1313)

         FF.       Notice of Filing of Asset Purchase Agreement dated as of December 8, 2023
                   between the Debtors and GPSS Holdings, LLC [Filed: 12/8/23] (Docket No.
                   1314)

         GG.       Notice of Filing of Asset Purchase Agreement dated as of December 8, 2023
                   between the Debtors and Ramar Land Corporation [Filed: 12/8/23] (Docket No.
                   1315)

         HH.       Notice of Filing of Asset Purchase Agreement dated as of December 8, 2023
                   between the Debtors and RLF IV Acquisitions, LLC [Filed: 12/8/23] (Docket No.
                   1316)

         II.       Notice of Filing of Asset Purchase Agreement dated as of December 7, 2023
                   between the Debtors and Royal Group Holdings Inc. [Filed: 12/8/23] (Docket No.
                   1317)

         JJ.       Notice of Filing of Asset Purchase Agreement dated as of December 8, 2023
                   between the Debtors and Skylark Logistics, Inc. [Filed: 12/8/23] (Docket No.
                   1318)

         KK.       Notice of Filing of Asset Purchase Agreement dated as of December 7, 2023
                   between the Debtors and Southeast Consolidators, Inc. [Filed: 12/8/23] (Docket
                   No. 1319)


DE:4878-9320-6677.5 96859.001                     26
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23    Page 27 of 31




         LL.       Notice of Filing of Asset Purchase Agreement dated as of December 8, 2023
                   between the Debtors and Unis, LLC [Filed: 12/8/23] (Docket No. 1320)

         MM. Notice of Filing of Form of Asset Purchase Agreement between the Debtors and
             United Holding Group Inc. [Filed: 12/8/23] (Docket No. 1321)

         NN.       Notice of Modified Provision to the Skylark Asset Purchase Agreement [Filed:
                   12/8/23] (Docket No. 1327)

         OO.       Notice of Modified Schedules to the Royal Asset Purchase Agreement [Filed:
                   12/9/23] (Docket No. 1328)

         PP.       Supplemental Declaration of Cody Leung Kaldenberg in Support of Entry of
                   Order (I) Approving Certain Asset Purchase Agreements; (II) Authorizing and
                   Approving Sales of Certain Real Property Assets of the Debtors Free and Clear of
                   Liens, Claims, Interests, and Encumbrances, in Each Case Pursuant to the
                   Applicable Asset Purchase Agreement; (III) Approving the Assumption and
                   Assignment of Certain Executory Contracts and Unexpired Leases in Connection
                   Therewith, in Each Case as Applicable Pursuant to the Applicable Asset Purchase
                   Agreement; and (IV) Granting Related Relief [Filed: 12/11/23] [Filed: 12/11/23]
                   (Docket No. 1330)

         QQ.       Amended Debtors’ Witness and Exhibit List for Hearing on December 12, 2023
                   at 10:00 a.m. (ET) [Filed: 12/11/23] (Docket No. 1331)

         RR.       Debtors’ Motion for Leave to File a Late Reply in Support of Sale Motion [Filed:
                   12/11/23] (Docket No. 1332)

         SS.       Notice of Filing of Asset Purchase Agreement Dated as of December 10, 2023
                   Between the Debtors and Crown Enterprises, LLC [Filed: 12/11/23] (Docket No.
                   1334)

         TT.       Notice of Filing of Revised Proposed Order (I) Approving Certain Asset
                   Purchase Agreements; (II) Authorizing and Approving Sales of Certain Real
                   Property Assets of the Debtors Free and Clear of Liens, Claims, Interests,
                   and Encumbrances, in Each Case Pursuant to the Applicable Asset Purchase
                   Agreement; (III) Approving the Assumption and Assignment of Certain
                   Executory Contracts and Unexpired Leases in Connection Therewith, in
                   Each Case as Applicable Pursuant to the Applicable Asset Purchase
                   Agreement; and (IV) Granting Related Relief [Filed: 12/11/23] (Docket No.
                   1338)

         UU.       Notice of Modified Provisions to the Royal Asset Purchase Agreement [Filed:
                   12/11/23] (Docket No. 1339)

         Status: This matter will go forward with respect to the sale of certain of the Debtors’ real
         property assets. The only cure / sale objections relating to the Debtors’ real property
         assets for sale at this hearing are the objections of 1313 Grand Street Realty, LLC

DE:4878-9320-6677.5 96859.001                     27
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 28 of 31




         [Docket No. 1072], Edinburgh Logistics Assets LLC [Docket No. 1109], Mid-American
         Constructors, LLC [Docket No. 1323]. The Debtors have resolved the objections of
         1313 Grand Street Realty, LLC [Docket No. 1072], Edinburgh Logistics Assets LLC
         [Docket No. 1109], and Mid-American Constructors, LLC [Docket No. 1323], and
         the sale hearing is now proceeding on a consensual basis.


CONTESTED MATTERS:

33.      Motion of Lawrence Nowicki for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
         362(d) of the Bankruptcy [Filed: 9/26/23] (Docket No. 659)

         Response Deadline: October 11, 2023 at 5:00 p.m. (ET) (extended until October 12,
         2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed
                   10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Lawrence Nowicki for Relief from the
                   Automatic Stay Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy [Filed: 9/26/23]
                   (Docket No. 659)

         B.        [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                   Lawrence Nowicki to (I) Extend the Deadline to Respond to Motion to Lift the
                   Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 10/6/23]
                   (Docket No. 780)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).




DE:4878-9320-6677.5 96859.001                     28
               Case 23-11069-CTG         Doc 1340      Filed 12/12/23   Page 29 of 31




34.      Motion of Jesse Israel Newton for Relief From the Automatic Stay [Filed: 10/3/23]
         (Docket No. 741)

         Response Deadline: October 16, 2023 at 5:00 p.m. (ET)

         Responses Received:

         A.        Omnibus Objection and Reservation of Rights of Creditor Old Republic Insurance
                   Company to Motions for Relief from the Automatic Stay to the Extent of
                   Insurance Proceeds [Filed: 10/12/23] (Docket No. 823)

         B.        Debtors' Omnibus Objection to Personal Injury Claimant Motions for Relief from
                   the Automatic Stay Under Section 362 of the Bankruptcy Code [Filed: 10/12/23]
                   (Docket No. 827)

         C.        Joinder of the Official Committee of Unsecured Creditors of Yellow Corporation,
                   Et Al., to Debtors’ Omnibus Objection to Personal Injury Claimant Motions for
                   Relief From the Automatic Stay Under Section 362 of the Bankruptcy Code
                   [Filed 10/20/23] (Docket No. 886)

         D.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Jesse Israel Newton for Relief From the
                   Automatic Stay [Filed: 10/3/23] (Docket No. 741)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

35.      Motion of Jason E. Ellis for Relief from the Automatic Stay Pursuant to 11 U.S.C. §
         362(d) of the Bankruptcy Code [Filed: 10/13/23] (Docket No. 829)

         Response Deadline: October 30, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Jason E. Ellis for Relief from the Automatic
                   Stay Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy Code [Filed: 10/13/23]
                   (Docket No. 829)


DE:4878-9320-6677.5 96859.001                     29
               Case 23-11069-CTG        Doc 1340       Filed 12/12/23    Page 30 of 31




         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

36.      James Alexander and Lisa Alexander Motion for Relief From the Automatic Stay [Filed:
         10/23/23] (Docket No. 903)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET) (extended until December 5,
         2023 at 4:00 p.m. (ET))

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order [Filed: 10/23/23] (Docket No. 903)

         B.        Re-Notice of Hearing of Motion of James Alexander and Lisa Alexander for
                   Relief From the Automatic Stay [Filed: 11/3/23] (Docket No. 1034)

         C.        Re-Notice of Hearing of Motion of James Alexander and Lisa Alexander for
                   Relief From the Automatic Stay [Filed: 11/7/23] (Docket No. 1052)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

37.      Motion of Ahmed Elsamady for Relief From the Automatic Stay Pursuant to 11 U.S.C. §
         362(d) of the Bankruptcy Code [Filed: 11/3/23] (Docket No. 1028)

         Response Deadline: December 5, 2023 at 4:00 p.m.

         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Motion of Ahmed Elsamady for Relief From the
                   Automatic Stay Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy Code [Filed:
                   11/3/23] (Docket No. 1028)

         Status: This matter is continued until January 22, 2024 at 2:00 p.m. (ET).

38.      Phillip B. Deterding's Motion for Relief from the Automatic Stay [Filed: 11/3/23]
         (Docket No. 1037)

         Response Deadline: November 27, 2023 at 4:00 p.m.

DE:4878-9320-6677.5 96859.001                     30
               Case 23-11069-CTG         Doc 1340       Filed 12/12/23   Page 31 of 31




         Responses Received:

         A.        Debtors’ Amended and Restated Omnibus Objection to Personal Injury Claimant
                   Motions for Relief from the Automatic Stay Under Section 362 of the Bankruptcy
                   Code [Filed: 12/6/23] (Docket No. 1273)

         Related Documents:

         A.        [Proposed] Order Granting Phillip B. Deterding's Motion for Relief from the
                   Automatic Stay [Filed: 11/3/23] (Docket No. 1037, Exhibit A)

         Status: This matter will go forward.

Dated: December 12, 2023
       Wilmington, Delaware


/s/ Peter J. Keane
Laura Davis Jones (DE Bar No. 2436)             Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)             David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)                Whitney Fogelberg (admitted pro hac vice)
Edward A. Corma (DE Bar No. 6718)               KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL &                         KIRKLAND & ELLIS INTERNATIONAL LLP
JONES LLP                                       300 North LaSalle
919 North Market Street, 17th Floor             Chicago, Illinois 60654
P.O. Box 8705                                   Telephone:     (212) 446-4800
Wilmington, Delaware 19899-8705                 Facsimile:     (212) 446-4900
Telephone: 302-652-4100                         Email:         patrick.nash@kirkland.com
Facsimile: 302-652-4400                                        david.seligman@kirkland.com
Email:        ljones@pszjlaw.com                               whitney.fogelberg@kirkland.com
              tcairns@pszjlaw.com
              pkeane@pszjlaw.com                -and-
              ecorma@pszjlaw.com
                                                Allyson B. Smith (admitted pro hac vice)
                                                KIRKLAND & ELLIS LLP
                                                KIRKLAND & ELLIS INTERNATIONAL LLP
                                                601 Lexington Avenue
                                                New York, New York 10022
                                                Telephone:    (212) 446-4800
                                                Facsimile:    (212) 446-4900
                                                Email:        allyson.smith@kirkland.com

                                                Co-Counsel for the Debtors and Debtors in
                                                Possession




DE:4878-9320-6677.5 96859.001                      31
